Case 1:15-po-00005-JCN Document1 Filed 09/29/15 Pagelof1 PagelID#:1

U.S. DISTRICT COURT
BANGOR, MAINE

UNITED STATES DISTRICT COURT = RECEIVED AED FILED

DISTRICT OF MAINE —_

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DEPUTY CLER*

) Criminal No. \\.\5- Po-0 OO 5-SCN

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Vv.

DUSHKO VENELINOV VULCHEV (18 U.S.C. § 112(b)(1))

COUNT ONE
(Threat to Foreign Official)

On about February 5, 2015, in the District of Maine and elsewhere, defendant
DUSHKO VENELINOV VULCHEV
knowingly and willfully did intimidate, threaten, and harass a foreign official, namely, K.G., a
Vice-President of the European Commission.

The defendant thus violated Title 18, United States Code, Section 112(b)(1).

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ANDREW MG@ORMACK
ASSISTANT UNITED STATES ATTORNEY

DATE: September 28, 2015

 
